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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA et al.,                                PLAINTIFFS


V.                                    CIVIL ACTION NO. 1:20-cv-3010 (APM)


GOOGLE LLC,                                                     DEFENDANT

                            NOTICE OF APPEARANCE

      Please take notice that Lee Morris is authorized to practice in this court and

hereby enters her appearance in the above-captioned matter as counsel on behalf of

the State of Mississippi.




      RESPECTFULLY SUBMITTED, this the 13th day of December, 2024.

                                      FOR PLAINTIFF STATE OF MISSISSIPPI

                                      LYNN FITCH
                                      ATTORNEY GENERAL

                                      /s/ Lee Morris
                                      Lee Morris (MS Bar # 106843)
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                                      Lee.Morris@ago.ms.gov
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                           CERTIFICATE OF SERVICE

      I, Lee Morris, Special Assistant Attorney General and attorney for the State of
Mississippi, do hereby certify that I have this date caused to be filed with the Clerk
of the Court a true and correct copy of the above and foregoing via the Court’s
CM/ECF filing system which sent notification of such filing to all counsel of record.

      THIS the 13th day of December, 2024.

                                                    /s/Lee Morris
                                                    LEE MORRIS
